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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

 IN RE: TASIGNA (NILOTINIB)
 PRODUCTS LIABILITY LITIGATION                    Case No. 6:21-md-3006-RBD-DAB
                                                                   (MDL No. 3006)
 This document relates to all actions.
 ____________________________________

                                          ORDER

       This matter comes before the Court on Defendant Novartis’ Motion (doc.

 no. 118) to allocate to Plaintiffs some of the expense associated with anonymizing

 data from certain clinical trials that the Court has ordered be produced as

 requested by Plaintiffs. Plaintiffs filed a response in opposition to the Motion (doc.

 no. 121). For the reasons stated below, the motion is DENIED without prejudice.

       On March 15, 2022, the Court granted Plaintiffs’ Motion to Compel (doc. no.

 84) certain information from various clinical trials performed by Novartis. (Doc.

 no. 95). The background necessary to understand the current request is set forth in

 that Order and will not be repeated here. Suffice it to say, Novartis now wishes to

 for Plaintiffs to share some of the pain of the ordered production.

       Considering the circumstances described and the arguments advanced in

 the motion and response, the Court makes the following observations. Issues of

 the costs of properly producing the requested information could and should have

 been raised in connection with the original arguments regarding production. Both
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 sides should have anticipated this issue, which is hardly novel or unexpected.

 Indeed, Novartis apparently keeps a firm on retainer specifically to perform

 anonymizing such data. The Court views the parties’ failure to consider and

 discuss the matter earlier as a further example of their incomplete and ineffective

 discharge of meet-and-confer obligations.

       Even after the order to produce was entered, Novartis’ suggestion of cost

 sharing was delayed until it was mentioned in the May 5, 2022 Status Report and

 thereafter as the subject of the May 13, 2022 Motion. Compounding this delay,

 even now, the request is somewhat vague and uncertain, providing no basis for

 the Court to allocate costs if it were currently inclined to do so.

       All of those considerations aside, the Court recognizes that anonymizing is

 appropriate here and the associated costs are substantial (exceeding even the first

 year salary of a new law school graduate). Additionally, the ultimate utility of the

 data is yet to be determined. Finally, the Court notes that Novartis is well able to

 bear the cost of anonymizing in the first instance, so deferring decision on possible

 cost allocation would create no issue of delaying discovery.

       Given the current uncertainties as to the amount of reasonable costs (both

 in total and any allocable share) and the significance of the data to be produced (at

 Plaintiffs’ request), cost sharing can prudently be DENIED without prejudice to

 potential reconsideration at the close of discovery.
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       DONE and ORDERED in Orlando, Florida, on June 1, 2022.




       Copies furnished to:

       Counsel of Record
